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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

Legacy IMBDS, Inc., et al.,1                                           Case No. 23-10852 (KBO)

                                            Debtors.                   (Jointly Administered)

                                                                       Re: Docket No. 733

         CERTIFICATION OF NO OBJECTION REGARDING SECOND MONTHLY
             APPLICATION FOR COMPENSATION AND REIMBURSEMENT
            OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP, AS
           CO-COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION,
          FOR THE PERIOD FROM AUGUST 1, 2023 THROUGH AUGUST 31, 2023
                            (NO ORDER REQUIRED)

                   The undersigned hereby certifies that, as of the date hereof, no answer, objection or

other responsive pleading has been received to the Second Monthly Application for Compensation

and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as Co-Counsel for the

Debtors and Debtors in Possession, for the Period from August 1, 2023 through August 31, 2023

(the “Application”) [Docket No. 733] filed on November 13, 2023. The undersigned further

certifies that the Court’s docket in this case has been reviewed and no answer, objection or other

responsive pleading to the Application appears thereon. Pursuant to the notice of Application,

objections to the Application were to be filed and served no later than December 4, 2023 at 4:00

p.m. prevailing Eastern Time.

                   Pursuant to the Order (I) Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Retained Professionals and (II) Granting Related Relief [Docket



1  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
number are: ValueVision Media Acquisitions, Inc. (8670); Legacy IMBDS, Inc. (3770); ValueVision Interactive, Inc.
(8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc. (2155);
JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951); FL
Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The Debtors’
service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
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No. 436] entered on August 11, 2023, the Debtors are authorized to pay Pachulski Stang Ziehl &

Jones LLP $166,931.60 which represents 80% of the fees ($208,664.50) and $4,215.80 which

represents 100% of the expenses requested in the Application, for the period from August 1, 2023

through August 31, 2023, upon the filing of this Certification and without the need for entry of a

Court order approving the Application.




                                [Remainder of Page Intentionally Left Blank]




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Dated: December 5, 2023               PACHULSKI STANG ZIEHL & JONES LLP
       Wilmington, Delaware
                                      /s/ Laura Davis Jones
                                      Laura Davis Jones (DE Bar No. 2436)
                                      Timothy P. Cairns (DE Bar No. 4228)
                                      919 North Market Street, 17th Floor
                                      P.O. Box 8705
                                      Wilmington, Delaware 19899-8705 (Courier 19801)
                                      Telephone: 302-652-4100
                                      Facsimile: 302-652-4400
                                      E-mail: ljones@pszjlaw.com
                                               tcairns@pszjlaw.com

                                      -and-

                                      ROPES & GRAY LLP
                                      Ryan Preston Dahl (admitted pro hac vice)
                                      Cristine Pirro Schwarzman (admitted pro hac vice)
                                      1211 Avenue of the Americas
                                      New York, New York 10036
                                      Telephone: (212) 596-9000
                                      Facsimile: (212) 596-9090
                                      E-mail: ryan.dahl@ropesgray.com
                                               cristine.schwarzman@ropesgray.com

                                      -and-

                                      ROPES & GRAY LLP
                                      Stephen L. Iacovo (admitted pro hac vice)
                                      191 North Wacker Drive, 32nd Floor
                                      Chicago, Illinois 60606
                                      Telephone: (312) 845-1200
                                      Facsimile: (212) 845-5500
                                      E-mail: stephen.iacovo@ropesgray.com

                                      Counsel to the Debtors and Debtors in Possession




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